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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW HAMPSHIRE



United States of America

      v.                           Criminal No. 07-cr-189-03-PB

Cirino Gonzalez



                                   ORDER

     Re: Document No. 433, Motion to Reschedule Date of Jury
Selection

     Ruling: Jury selection was previously scheduled for June 18,
2008. On May 13, 2008, the Court held a conference of counsel on
attorney Bownes’s “Notice of Ineffective Assistance of Counsel”.
At the conference, attorney Bownes explained that he had a personal
matter to attend to outside of New Hampshire from June 16 to June
18, and he requested that jury selection be rescheduled. At that
time attorney Bownes stated that he would be available for jury
selection on June 19, 2008.       Accommodating attorney Bownes’s
request, the Court rescheduled jury selection in this case to June
19, 2008. Attorney Bownes now indicates that he “mis-communicated
the dates that he was available for jury selection.” The Court
will not reschedule jury selection again. Motion denied.


                                      /s/ George Z. Singal
                                   Chief United States District Judge


Date:      May 20, 2008

cc:   Counsel of Record
